 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 1 of 12 PageID 1




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                        CASE NO.:
HOWARD COHAN,

       Plaintiff,

vs.                                                     INJUNCTIVE RELIEF SOUGHT

UFF DAA, INC.,
d/b/a LA QUINTA,

      Defendant.
___________________/

                                          COMPLAINT

       Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

files this Complaint and sues UFF DAA, INC. d/b/a LA QUINTA (“Defendant”), for declaratory

and injunctive relief, attorneys’ fees, expenses and costs (including, but not limited to, court costs

and expert fees) pursuant to 42 U.S.C. §12182 et. seq., and the 2010 Americans with Disabilities

Act (“ADA”) and alleges as follows:


                                 JURISDICTION AND VENUE

       1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

§1331 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq., based on Defendant’s

violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as the 2010 ADA

Standards.

       2.      Venue is proper in this Court, Orlando Division, pursuant to 28 U.S.C. §1391(B)

and the Internal Operating Procedures for the United States District Court for the Middle District

of Florida in that all events giving rise to the lawsuit occurred in Brevard County, Florida.



                                                  1
 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 2 of 12 PageID 2




                                                PARTIES

        3.      Plaintiff, HOWARD COHAN is a resident of the state of Florida residing in Palm

Beach County, Florida, and is otherwise sui juris.

        4.      Upon information and belief, Defendant is the lessee, operator, owner and/or lessor

of the Real Property, which is subject to this lawsuit, and is located at 1275 N. Atlantic Avenue,

Cocoa Beach, Florida 32931 (“Premises”) and is the owner of the improvements where the

Premises is located.

        5.      The Premises is a place of public accommodation.

        6.      Defendant is authorized to conduct, and is in fact conducting, business within the

state of Florida.

        7.      Plaintiff is an individual with numerous permanent disabilities including severe

spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

spine with nerve root compromise on the right side; a non-union fracture of the left acromion

(shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

sudden onsets of severe pain and substantially limit Plaintiff’s major life activities.

        8.      At the time of Plaintiff’s visit to the Premises on July 22, 2021 (and prior to

instituting this action), Plaintiff suffered from a “qualified disability” under the ADA and required

the use of a handicap parking space and the use of other means of accessibility for persons with

disabilities. Plaintiff personally visited the Premises, but was denied full and equal access and full

and equal enjoyment of the facilities, services, goods and amenities within the Premises, even

though he was a “bona fide patron”.



                                                   2
 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 3 of 12 PageID 3




        9.      Plaintiff, in his individual capacity, will absolutely return to the Premises in the

near and avail himself to the services offered at the Premises when Defendant modifies the

Premises or modifies the policies and practices to accommodate individuals who have physical

disabilities.

        10.     Plaintiff is continuously aware of the violations at Defendant’s Premises and is

aware that it would be a futile gesture to return to the Premises as long as those violations exist,

and Plaintiff is not willing to suffer additional discrimination.

        11.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

of the ADA.

        12.     Plaintiff would like to be able to be a patron of the Premises in the near future and

be able to enjoy the goods and services that are available to the able-bodied public, but is currently

precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.

Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

at the Premises to eliminate the discrimination against persons with physical disabilities.

        13.     Completely independent of his personal desire to have access to this place of public

accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

discovering, encountering and engaging discrimination against the disabled in public

accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

personally visits the public accommodation; engages all of the barriers to access, or at least of

those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

discrimination; and subsequently returns to the Premises in the near future to verify its compliance



                                                  3
 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 4 of 12 PageID 4




or non-compliance with the ADA and to otherwise use the public accommodation as members of

the able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,

and its maintenance of the accessible features of the Premises. In this instance, Plaintiff, in

Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to access

at the Premises, engaged and tested those barriers, suffered legal harm and legal injury and will

continue to suffer such harm and injury as a result of the illegal barriers to access and the violations

of the ADA set forth herein. It is Plaintiff’s belief that said violations will not be corrected without

Court intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

        14.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

Defendant modifies the Premises or modifies the policies and practices to accommodate

individuals who have physical disabilities to confirm said modifications have been completed in

accordance with the requirements of the ADA.

              VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        15.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 14

above as if fully stated herein.

        16.     On July 26, 1990, Congress enacted the ADA, 42 U.S.C. §12101 et. seq.

Commercial enterprises were provided one and a half (1.5) years from enactment of the statute to

implement its requirements. The effective date of Title III of the ADA was January 26, 1992, or

January 26, 1993 if Defendant has ten (10) or fewer employees and gross receipts of $500,000.00

or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).

        17.     Congress found, among other things, that:




                                                   4
 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 5 of 12 PageID 5




             a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                this number shall increase as the population continues to grow older;

             b. historically, society has tended to isolate and segregate individuals with disabilities

                and, despite some improvements, such forms of discrimination against disabled

                individuals continue to be a pervasive social problem, requiring serious attention;

             c. discrimination against disabled individuals persists in such critical areas as

                employment, housing, public accommodations, transportation, communication,

                recreation, institutionalization, health services, voting and access to public services

                and public facilities;

             d. individuals with disabilities continually suffer forms of discrimination, including

                outright intentional exclusion, the discriminatory effects of architectural,

                transportation, and communication barriers, failure to make modifications to

                existing facilities and practices, exclusionary qualification standards and criteria,

                segregation, and relegation to lesser services, programs, benefits, or other

                opportunities; and

             e. the continuing existence of unfair and unnecessary discrimination and prejudice

                denies people with disabilities the opportunity to compete on an equal basis and to

                pursue those opportunities for which our country is justifiably famous, and costs

                the United States billions of dollars in unnecessary expenses resulting from

                dependency and nonproductivity.

42 U.S.C. §12101(a)(1)-(3),(5) and (9).

       18.      Congress explicitly stated that the purpose of the ADA was to:




                                                   5
 Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 6 of 12 PageID 6




              a. provide a clear and comprehensive national mandate for elimination of

                 discrimination against individuals with disabilities;

              b. provide clear, strong, consistent, enforceable standards addressing discrimination

                 against individuals with disabilities; and

              c. invoke the sweep of congressional authority, including the power to enforce the

                 fourteenth amendment and to regulate commerce, in order to address the major

                 areas of discrimination faced on a daily basis by people with disabilities.

42 U.S.C. §12101(b)(1)(2) and (4).

        19.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

provides services to the general public and must be in compliance therewith.

        20.      Defendant has discriminated, and continues to discriminate against Plaintiff and

others who are similarly situated by denying access to and full and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations located at the Premises, as

prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

        21.      Plaintiff has visited the Premises and has been denied full and safe equal access to

the facilities, and therefore suffered an injury in fact.

        22.      Plaintiff will return to the Premises in the near future and enjoy the goods, services,

facilities, privileges, advantages and/or accommodations at the Premises on a planned, or a

spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by Defendant’s

failure and refusal to provide persons with disabilities with full and equal access to its facilities at




                                                    6
    Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 7 of 12 PageID 7




the Premises. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

architectural barriers that are in violation of the ADA.

         23.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA Accessibility

Guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, under which said Department

may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00 for each

subsequent violation.1

         24.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violation found in the Passenger Drop-Off Area:

               a. Failing to provide a passenger loading zone with an access aisle marked with

                  striping in violation of 2010 ADAAG §§209, 209.1, 209.4, 503, 503.1, 503.3 and

                  503.3.3 and/or §§4.6, 4.6.1, 4.6.3 and 4.6.6 of the 1991 ADA Standards.

         25.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in the Men’s Restroom:

               a. Failing to provide proper signage for an accessible restroom or failure to redirect a

                  person with a disability to the closest available accessible restroom facility in

                  violation of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 703, 703.1, 703.2, 703.5

                  and 703.7.2.1 and/or §§4.30 and 4.30.1 of the 1991 ADA Standards.


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 Effective April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00 to
$75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent violations.
See 28 C.F.R. §§36 and 85.


                                                    7
Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 8 of 12 PageID 8




       b. Providing grab bars of improper horizontal length or spacing on the back or side

          wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609 and 609.4

          and/or §§4.26 and 4.26.2 of the 1991 ADA Standards.

       c. Failing to provide the proper spacing between a grab bar and an object projecting

          out of the wall (Photograph) in violation of 2010 ADAAG §§604, 604.5, 604.5.1,

          604.5.2, 609, 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of the 1991 ADA

          Standards.

       d. Failing to provide the proper spacing between a grab bar and an object projecting

          out of the wall (toilet seat cover dispenser) in violation of 2010 ADAAG §§604,

          604.5, 604.5.1, 604.5.2, 609, 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of

          the 1991 ADA Standards.

       e. Failing to provide a dispenser in an accessible position (back wall or other

          inaccessible place) so that it can be reached by a person with a disability in violation

          of 2010 ADAAG §§606, 606.1, 308 and 308.2.2 and/or §§4.16.6, 4.22.7, 4.27 and

          4.27.3 of the 1991 ADA Standards.

       f. Failing to provide the proper spacing between a grab bar and an object projecting

          out of the wall (toilet paper dispenser) in violation of 2010 ADAAG §§604, 604.5,

          604.5.1, 604.5.2, 609, 609.3 and 609.4 and/or §§4.16.4, 4.26 and 4.26.2 of the 1991

          ADA Standards.

       g. Failing to provide a coat hook within the proper reach ranges for a person with a

          disability in violation of 2010 ADAAG §§603, 603.4 and 308 and/or §§4.25.3, 4.2.5

          and 4.1.3 of the 1991 ADA Standards.




                                             8
Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 9 of 12 PageID 9




       h. Providing a swinging door or gate with improper maneuvering clearance(s) due to

          a wall or some other obstruction that does not comply with the standards set forth

          in 2010 ADAAG §§404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1 and/or

          §§4.13, 4.13.3 and 4.13.6 of the 1991 ADA Standards.

       i. Failing to provide the water closet in the proper position relative to the side wall or

          partition in violation of 2010 ADAAG §§604 and 604.2 and/or §§4.16, 4.17.2 and

          4.17.3 of the 1991 ADA Standards.

       j. Failing to provide proper knee clearance for a person with a disability under a

          counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

          306.3.1 and/or §4.24.3 of the 1991 ADA Standards.

       k. Failing to provide mirror(s) located above lavatories or countertops at the proper

          height above the finished floor in violation of 2010 ADAAG §§603 and 603.3

          and/or §§4.19 and 4.19.6 of the 1991 ADA Standards.

       l. Failing to provide a paper towel dispenser or its operable part at the correct height

          above the finished floor in violation of 2010 ADAAG §§606, 606.1 and 308 and/or

          §§4.16.6, 4.27, 4.27.3, 4.22.7 and 4.23.7 of the 1991 ADA Standards.

       m. Failing to provide operable parts that are functional or are in the proper reach ranges

          as required for a person with a disability (door latch) in violation of 2010 ADAAG

          §§309, 309.1, 309.3 and 309.4 and/or §§4.27, 4.27.3 and 4.27.4 of the 1991 ADA

          Standards.

       n. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

          exceeding the limits for a person with a disability in violation of 2010 ADAAG




                                             9
Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 10 of 12 PageID 10




               §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

               Standards.

       26.     To the best of Plaintiff’s belief and knowledge, at the time of filing this lawsuit

Defendant has failed to eliminate the specific violations set forth in paragraphs 24 and 25 above.

       27.     Although Defendant is charged with having knowledge of the violations, Defendant

may not have had actual knowledge of said violations until this Complaint made Defendant aware

of same.

       28.     To date, the readily achievable barriers and violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions

of the ADA.

       29.     As the owner, lessor, lessee or operator of the Premises, Defendant is required to

comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

obligation to remove architectural barriers at the Premises where removal was readily achievable,

as required by 28 C.F.R. §36.402.

       30.     To the extent the Premises, or portions thereof, were constructed for occupancy

after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

to design and construct such Premises such that it is readily accessible to and usable by individuals

with disabilities, as required by 28 C.F.R. §36.401.

       31.     Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant

was required to make the Premises, a place of public accommodation, accessible to persons with

disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant has failed

to comply with this mandate.



                                                 10
Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 11 of 12 PageID 11




       32.      Plaintiff has retained undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

Defendant, pursuant to 42 U.S.C. §12205.

       33.      The violations alleged in paragraphs 24 and 25 above are readily achievable to

modify in order to bring the Premises or the Facility/Property into compliance with the ADA.

       34.      In the instances where the 2010 ADAAG Standards do not apply to the violations

listed in paragraphs 24 and 25 above, the 1991 ADA Standards apply.

       35.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff’s injunctive relief, including entering an Order to alter the Premises to make them readily

accessible to and useable by individuals with disabilities to the extent required by the ADA and

closing the Premises until the requisite modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

injunctive and declaratory relief:

             1. This Court declare that the Premises owned, operated and/or controlled by

                Defendant is in violation of the ADA;

             2. This Court enter an Order requiring Defendant to alter the Premises and/or its

                facilities to make them accessible to and usable by individuals with disabilities to

                the full extent required by Title III of the ADA;

             3. This Court enter an Order directing Defendant to evaluate and neutralize its

                policies, practices and procedures toward persons with disabilities, for such

                reasonable time so as to allow Defendant to undertake and complete corrective

                procedures to the Premises;




                                                 11
Case 6:22-cv-00140-CEM-GJK Document 1 Filed 01/21/22 Page 12 of 12 PageID 12




         4. This Court award reasonable attorneys’ fees, all costs (including, but not limited to

            the court costs and expert fees) and other expenses of suit to Plaintiff; and

         5. This Court award such other and further relief as it may deem necessary, just and

            proper.




Dated:        1/21/2022

                                           Respectfully submitted by:


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                                             12
